 Case 2:18-cv-11897-VAR-MKM ECF No. 1, PageID.1 Filed 06/15/18 Page 1 of 13




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

SHARDAE THOMAS,

Plaintiff,                                         Case Number 2:18-cv-11897
                                                   Honorable
v.

IQ DATA INTERNATIONAL, INC.,

Defendants.
____________________________________/

HADOUS|CO. PLLC
Nemer N. Hadous (CA #264431)
1 Parklane Blvd., Suite 729 East
Dearborn, Michigan 48126
(313) 415-5559 (phone)
(888) 450-0687 (fax)
nhadous@hadousco.com
Attorneys for Plaintiff Thomas

                              CIVIL COMPLAINT
                                JURY DEMAND

       Plaintiff, Shardae Thomas, ("Plaintiff"), by counsel, brings this action for

damages against Defendant IQ Data International, Inc. (“IQD”), Experian

Information Solutions, Inc. (“Experian”), and Equifax Information Services, LLC

(“Equifax”) (collectively, “Defendants”), arising from violations of the Fair Debt

Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq. and Fair Credit

Reporting Act (“FCRA”), 15 U.S.C. § 1681 et seq.
 Case 2:18-cv-11897-VAR-MKM ECF No. 1, PageID.2 Filed 06/15/18 Page 2 of 13




                             JURISDICTION AND VENUE

       1.        This Court has federal question jurisdiction because this action arises

from violations of federal law. 28 U.S.C. §§ 1331. Jurisdiction is also proper

pursuant to 15 U.S.C. § 1692k(d) (FDCPA), and 15 U.S.C. 1681p (FCRA)

(permitting actions to enforce liability in appropriate federal district court).

       2.        Venue in the United States District Court for the Eastern District of

Michigan is proper because Defendants regularly transact business within this

District, are otherwise subject to personal jurisdiction in this District, and a

substantial part of events or omissions occurred in this District.

                                         PARTIES

       3.        Plaintiff incorporates herein by reference all of the above paragraphs

of this Complaint as though fully set forth at length herein.

       4.        Plaintiff is a natural person obligated or allegedly obligated to pay any

debt and is thus “consumer” as defined by the FDCPA, 15 U.S.C. § 1692a(3).

Many relevant events giving rise to this action occurred in this District, including

Plaintiff’s bankruptcy, which she filed in this District’s Bankruptcy Court through

counsel. Further, the tradelines Plaintiff contends are inaccurate, incorrect and

misleading regard alleged (discharged) debts that arose while Plaintiff resided in

this District.
 Case 2:18-cv-11897-VAR-MKM ECF No. 1, PageID.3 Filed 06/15/18 Page 3 of 13




      5.    During all time pertinent to this Complaint, Defendant IQ Data

International, Inc. was authorized to conduct business in the State of Michigan and

conducted business in Michigan on a routine and systematic basis.

      6.    Defendant IQ Data International, Inc. is a corporation organized under

the laws of the State of Washington. This Defendant can be served with process at

its registered office address: c/o CSC-Lawyers Incorporating Services, 601 Abbott

Rd., East Lansing, Michigan 48823.

      7.    Defendant IQ Data International, Inc. principal purpose is the

collection of debts and this Defendant regularly collects or attempts to collect the

debts owed or due or asserted to be owed or due another. Defendant IQ Data

International, Inc. regularly uses the telephone and the mail to engage in the

business of collecting debt. Thus, Defendant IQ Data International, Inc.is a ‘‘debt

collector’’ as defined by the FDCPA, 15 U.S.C. § 1692a(6).

      8.    Defendant IQ Data International, Inc. is also a “furnisher of

information” under 15 U.S.C. §§ 1681s-2(a) and 1681s-2(a) (b) of the FCRA.

      9.    Experian is a corporation organized under the laws of the State of

Ohio and is a “person,” as defined by 47 U.S.C. § 153 (10). Experian can be

served with process through its registered agent:      The Corporation Company,

40600 Ann Arbor Road E, Suite 201, Plymouth, Michigan 48170.
 Case 2:18-cv-11897-VAR-MKM ECF No. 1, PageID.4 Filed 06/15/18 Page 4 of 13




      10.    During all time pertinent to this Complaint, Experian was authorized

to conduct business in the State of Michigan and conducted business in Michigan

on a routine and systematic basis.

      11.    Experian is a “consumer reporting agency,” as defined by 15 U.S.C.

§1681a(f) of the FCRA. Experian regularly furnishes consumer reports to third

parties for monetary compensation, fees and other dues.

      12.    Equifax is a corporation organized under the laws of the State of

Georgia. Equifax can be served with process through its registered agent: CSC-

Lawyers Incorporating Service (Company), 601 Abbott Rd., Suite 2345, Lansing,

Michigan 48823.

      13.    During all time pertinent to this Complaint, Equifax was authorized to

conduct business in the State of Michigan and conducted business in Michigan on

a routine and systematic basis.

      14.    Equifax is a “consumer reporting agency,” as defined by 15 U.S.C.

§1681a(f) of the FCRA. During all time pertinent to this Complaint, Equifax

regularly furnished consumer reports to third parties for monetary compensation,

fees and other dues.

      15.    During all time pertinent to this Complaint, Defendants acted through

authorized agents, employees, officers, members, directors, heirs, successors,

assigns, principals, trustees, sureties, subrogees, representatives, and/or insurers.
 Case 2:18-cv-11897-VAR-MKM ECF No. 1, PageID.5 Filed 06/15/18 Page 5 of 13




      16.    Any violations by Defendants were not in good faith, were knowing,

negligent, willful, and/or intentional, and Defendants did not maintain procedures

reasonably adapted to avoid any such violation.

                           FACTUAL ALLEGATIONS

      17.    Plaintiff incorporates herein by reference all of the above paragraphs

of this Complaint as though fully set forth at length herein.

      18.    Plaintiff filed Chapter 7 Bankruptcy in 2016 in the United States

Bankruptcy Court for the Eastern District of Michigan.

      19.    Plaintiff listed among her debts, unsecured debts owed to Courtyard

Apartments and Security Auto Loans.

      20.    These debts arose prior to Plaintiff’s bankruptcy, in or around 2013.

      21.    There were no objections to Plaintiff’s discharge of this debt.

Accordingly, Plaintiff obtained a bankruptcy discharge of these debts.

      22.    Nonetheless, IQD commenced collection activities against Plaintiff

through numerous collection letters and phone calls in attempts to collect money

on the discharged Courtyard Apartments debt.           IQD threatened to report or

continue to report Plaintiff as delinquent or past due to the national consumer

reporting agencies regarding the discharged debt.

      23.    Plaintiff told IQD the alleged debt was included in her Chapter 7

Bankruptcy and to cease collection activity. This was futile.
 Case 2:18-cv-11897-VAR-MKM ECF No. 1, PageID.6 Filed 06/15/18 Page 6 of 13




      24.       In addition to IQD’s collection activity for a pre-bankruptcy alleged

debt, Plaintiff’s consumer disclosures with Experian and Equifax also includes

inaccurate, incorrect, and misleading information pertaining to pre-bankruptcy

alleged debt.

      25.       Plaintiff’s Experian disclosure lists the IQD tradeline payment status:

      -         Seriously past due

      -         Assigned to Attorney, Collection Agency, or Credit Grantor’s Internal

                Collection Department

      26.       Experian also lists a past due balance of $3,560.

      27.       Experian fails to indicate the alleged account was included in or

discharged in bankruptcy, even though the other national consumer reporting

agencies list the IQD account as included in Plaintiff’s bankruptcy.

      28.       Additionally, Plaintiff’s Equifax disclosure lists the Security Auto

Loans tradeline with an “open” account status and the comment “Consumer

Disputes.”

      29.       Equifax fails to indicate the alleged account was included in

bankruptcy, even though the other national consumer reporting agencies list the

Security Auto Loans tradeline as closed and included in Plaintiff’s bankruptcy.
 Case 2:18-cv-11897-VAR-MKM ECF No. 1, PageID.7 Filed 06/15/18 Page 7 of 13




         30.   Consequently, Plaintiff has suffered damages, including, denials of

credit, higher financing costs, emotional distress, embarrassment, frustration, and

interference with usual activities.

                             COUNT ONE
          VIOLATION OF FAIR DEBT COLLECTION PRACTICES ACT
                            15 U.S.C. § 1692
                           Defendant IQ Data

         31.   Plaintiff incorporates herein by reference all of the above paragraphs

of this Complaint as though fully set forth herein at length.

         32.   Plaintiff asserts this fair debt collection practices claim against

Defendant IQ Data.

         33.   Defendant IQ Data violated the FDCPA.            Defendant’s violations

include, but are not limited to, the following:

   (a)         Defendant IQ Data violated 15 U.S.C. §1692d of the FDCPA by

               engaging in conduct the natural consequences of which is to harass,

               oppress, or abuse any person in connection with the collection of an

               alleged debt, including by threatening to report a past due balance

               and/or amount owed on a discharged debt to the national consumer

               reporting agencies, and then following through on this threat;

   (b)         Defendant IQ Data violated 15 U.S.C. §1692e of the FDCPA by

               making false representations to Plaintiff about the character and legal

               status of the alleged debt, the “consequence” of non-payment thereof,
 Case 2:18-cv-11897-VAR-MKM ECF No. 1, PageID.8 Filed 06/15/18 Page 8 of 13




               including reporting a balance on the credit report and reporting the

               account “open;”

   (c)         Defendant IQ Data violated 15 U.S.C. §1692e of the FDCPA by

               threatening unlawfully to report the alleged debt to the national credit

               reporting agencies; and

   (d)         Defendant IQ Data violated 15 U.S.C. §1692f of the FDCPA by using

               unfair or unconscionable means in connection with collection of an

               alleged debt, including by disregarding multiple requests to cease

               collection efforts despite actual knowledge of Plaintiff’s bankruptcy.

         34.   Defendant IQ Data’s acts as described above were done intentionally

with the purpose of coercing Plaintiff to pay a discharged debt.

         35.   Consequently, Defendant IQ Data is liable to Plaintiff for declaratory

judgment that CBM’s conduct violated the FDCPA, actual damages, statutory

damages, costs, and attorney fees. Plaintiff’s actual damages include denials of

credit, higher financing costs, emotional distress, embarrassment, frustration, and

interference with usual activities.

                            COUNT TWO
     VIOLATION OF FAIR CREDIT REPORTING ACT, 15 U.S.C. § 1681
             Consumer Reporting Agencies: Equifax, Experian

         36.   Plaintiff incorporates herein by reference all of the above paragraphs

of this Complaint as though fully set forth herein at length.
 Case 2:18-cv-11897-VAR-MKM ECF No. 1, PageID.9 Filed 06/15/18 Page 9 of 13




      37.    The United States Congress has found the banking system is

dependent upon fair and accurate credit reporting.         Inaccurate credit reports

directly impair the efficiency of the banking system, and unfair credit reporting

methods undermine the public confidence, which is essential to the continual

functioning of the banking system. Congress enacted the Fair Credit Reporting

Act, 15 U.S.C. § 1681 et seq., to ensure fair and accurate reporting, promote

efficiency in the banking system, and protect consumer privacy.

      38.    The FCRA seeks to ensure consumer reporting agencies exercise their

grave responsibilities with fairness, impartiality, and a respect for the consumer's

right to privacy because consumer reporting agencies have assumed such a vital

role in assembling and evaluating consumer credit and other consumer

information. The FCRA also imposes duties on the sources that provide credit

information to credit reporting agencies, called "furnishers."

      39.    Experian is required to use reasonable procedures to ensure maximum

possible accuracy when preparing consumer disclosures, and willfully and/or

negligently failed to do so.

      40.    Experian knows or should have known about its obligations under the

FCRA. These obligations are well established in the plain language of the FCRA,

in the promulgations of the Federal Trade Commission, and in well-established

case law. Experian obtained or had available substantial written materials that
Case 2:18-cv-11897-VAR-MKM ECF No. 1, PageID.10 Filed 06/15/18 Page 10 of 13




apprised them of their duties under the FCRA. Despite knowing these legal

obligations, Experian acted consciously in breaching its known duties and deprived

Plaintiff of her rights under the FCRA.

      41.    Experian violated 15 U.S.C. §§ 1681e(b) by failing to use reasonable

procedures to ensure maximum possible accuracy of Plaintiff’s consumer

disclosure. Experian either permits furnishers like IQ Data International to report

tradelines that are demonstrably incorrect and inaccurate on the face of the

Plaintiff’s consumer disclosure.     For instance, Experian allows furnishers to

(falsely) report alleged debts arising prior to the date of a consumer’s bankruptcy

as currently open, in collections, seriously past due, or with an existing balance,

even though these debts arose prior to the date the consumer’s bankruptcy and are

discharged. Experian’s disclosures include the date the consumer filed bankruptcy,

whether the consumer obtained a bankruptcy discharge, and the date the inaccurate

tradeline account/debt arose or was otherwise opened by the consumer.

      42.    Alternatively, Experian unreasonably fails to update the consumer’s

disclosure after bankruptcy. In this case, the other bureaus report the IQD tradeline

as included in bankruptcy, while Experian does not.

      43.    Experian is a direct and proximate cause, as well as a substantial

factor in causing damages and harm to Plaintiff. Consequently, Experian is liable
Case 2:18-cv-11897-VAR-MKM ECF No. 1, PageID.11 Filed 06/15/18 Page 11 of 13




for actual and statutory damages, punitive damages, attorneys’ fees, costs, as well

as other such relief permitted by 15 U.S.C. § 1681 et seq.

      44.    Equifax is also required to use reasonable procedures to ensure

maximum possible accuracy when preparing consumer disclosures, and willfully

and/or negligently failed to do so.

      45.    Equifax knows or should have known about its obligations under the

FCRA. These obligations are well established in the plain language of the FCRA,

in the promulgations of the Federal Trade Commission, and in well-established

case law. Equifax obtained or had available substantial written materials that

apprised them of their duties under the FCRA. Despite knowing these legal

obligations, Equifax acted consciously in breaching its known duties and deprived

Plaintiff of her rights under the FCRA.

      46.    Equifax also violated 15 U.S.C. §§ 1681e(b) by failing to use

reasonable procedures to ensure maximum possible accuracy of Plaintiff’s

consumer disclosure. Equifax permits furnishers like Security Auto Loans to report

tradelines that are demonstrably incorrect and inaccurate on the face of Plaintiff’s

consumer disclosure.     For instance, Equifax allows furnishers to report debts

arising prior to the date of a consumer’s bankruptcy as currently open and/or

disputed, even though these debts arose prior to the date the consumer’s

bankruptcy and are discharged. Equifax’s disclosures include the date the
Case 2:18-cv-11897-VAR-MKM ECF No. 1, PageID.12 Filed 06/15/18 Page 12 of 13




consumer filed bankruptcy, whether the consumer obtained a bankruptcy

discharge, and the date the inaccurate tradeline account/debt arose or was

otherwise opened by the consumer.

      47.    Alternatively, Equifax unreasonably fails to update the consumer’s

disclosure after bankruptcy. Here, the other bureaus report the IQ Data

International tradeline as discharged in bankruptcy.

      48.    Equifax is a direct and proximate cause, as well as a substantial factor

in causing damages and harm to Plaintiff. Consequently, Equifax is liable for

actual and statutory damages, punitive damages, attorneys’ fees, costs, as well as

other such relief permitted by 15 U.S.C. § 1681 et seq.

                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiff respectfully requests that this Honorable Court

enter judgment against Defendants for the following:

      Fair Debt Collection Practices Act Violations

      (a)    Actual, statutory, and punitive damages pursuant to 15 U.S.C. §§

             1692k(a)(1) and 1692k(a)(2);

      (b)    Costs and reasonable attorney fees pursuant to 15 U.S.C. §

             1692k(a)(3);

      (c)    An Order enjoining further violations by CBM; and
Case 2:18-cv-11897-VAR-MKM ECF No. 1, PageID.13 Filed 06/15/18 Page 13 of 13




      (d)   Such other and further relief as this Honorable Court may deem just

            and proper, including post-judgment interest.

Fair Credit Reporting Act Violations

      (a)   Damages pursuant to 15 U.S.C. § 1681n(a)(1) and § 1681o(a)(1);

      (b)   Punitive damages as the Court may allow pursuant to 15 U.S.C. §§

            1681n(a)(2);

      (c)   Costs and reasonable attorney fees pursuant to 15 U.S.C. §

            1681n(a)(3) and § 1681o(a)(1); and

      (d)   Such other and further relief as this Honorable Court may deem just

            and proper, including post-judgment interest.

                                 JURY DEMAND

      Plaintiff hereby demands jury trial on all issues so triable.

      RESPECTFULLY SUBMITTED this 15th day of June 2018,

                                              HADOUS|CO. PLLC

                                              /s/Nemer N. Hadous              __
                                              Nemer N. Hadous (CA #264431)
                                              1 Parklane Blvd., Suite 729 East
                                              Dearborn, Michigan 48126
                                              (313) 415-5559 (phone)
                                              (888) 450-0687 (fax)
                                              nhadous@hadousco.com
                                              Attorneys for Plaintiff Thomas
